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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                             Bankruptcy Judge Elizabeth E. Brown


  In re:                                             Case No. 20-12377 EEB
                                                     Chapter 11
  Sklar Exploration Company, LLC,
  Debtor.


  In re:                                             Case No. 20-12380 EEB
                                                     Chapter 11
  Sklarco, LLC,
  Debtor.

                                                     Joint Administered Under
                                                     Case No. 20-12377 EEB



     EX PARTE MOTION FOR EXAMINATION OF HOWARD SKLAR PURSUANT
            TO FED. R. BANKR. P. 2004 AND LOCAL BANKR. R. 2004-1


           NOW INTO COURT, through undersigned counsel, comes JF Howell Interests, LP

 (“Howell Interests”), a creditor and party in interest of Sklar Exploration Company, LLC, (“SEC”)

 in the jointly-administered bankruptcy cases (the “Cases”) of SEC and Sklarco, LLC (“Sklarco”,

 and collectively with SEC, the “Debtors”), who files this Ex Parte Motion for Examination of

 Howard Sklar Pursuant to Fed. R. Bankr. P. 2004 and Local Bankr. R. 2004-1 (the “2004

 Motion”), and respectfully requests entry of an order authorizing Howell Interests to examine

 Howard Sklar individually, regarding the pre-petition operation of the Debtors, as well as the

 Debtors’ transactions with Howard Sklar and various related corporate entities, trusts, individuals

 and other insiders.

                                         BACKGROUND

           1.    On April 1, 2020, each of the Debtors filed a voluntary petition under Chapter 11


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 of the Bankruptcy Code with this Court, and by order of this Court, their corresponding bankruptcy

 Cases are jointly administered under Chapter 11 Case No. 20-12377. [Dkt. No. 8].

        2.      On April 15, 2020, the undersigned counsel was retained by Howell Interests. Since

 Howell Interests’ retention, the undersigned has been active in the above matters on issues

 pertaining to the assets for which SEC acts as operator under the governing agreements.

                                       BASIS FOR RELIEF

        3.      Federal Rule of Bankruptcy Procedure 2004 and Local Rule of Bankruptcy

 Procedure 2004-1 permit the examination of any entity with respect to “discovering assets

 examining transactions, and determining whether wrongdoing has occurred.” Fed. R. Bankr. P.

 2004; L.R.B.P. 2004-1. “The purpose of a Rule 2004 examination is to determine the condition,

 extent, and location of the debtor’s estate in order to maximize distribution to unsecured creditors.”

 In re Lufkin, 255 B.R. 204, 208 (Bankr. E.D. Tenn. 2000).

        4.      A party in interest therefore “may use Rule 2004 to determine the nature and extent

 of a bankruptcy estate and to ascertain whether wrongdoing has occurred.” In re Hilsen, 2008 WL

 2945996, at *4 (Bankr. S.D.N.Y. Jul. 25, 2008); In re Recoton Corp., 307 B.R. 751, 755 (Bankr.

 S.D.N.Y. 2004) (“The purpose of a Rule 2004 examination is to assist a party in interest in

 determining the nature and extent of the bankruptcy estate, revealing assets, examining

 transactions and assessing whether wrongdoing has occurred.”). “Any third party who has a

 relationship with a debtor may be made subject to a Rule 2004 investigation.” In re Recoton Corp.,

 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004).

        5.      The scope of a Rule 2004 examination is “extremely broad,” and has even been

 likened by some courts to a “lawful ‘fishing expedition.’” Id. (quoting Bank One, Columbus, N.A.

 v. Hammond (In re Hammond), 140 B.R. 197, 201 (S.D. Ohio 1992)). “The scope of a [ ] Rule




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 2004 examination is ‘unfettered and broad.’ Its purpose is to facilitate the discovery of assets and

 the unearthing of frauds and has been likened to a quick ‘fishing expedition’ into general matters

 and issues regarding the administration of the bankruptcy case.” In re Bakalis, 199 B.R. 443, 447

 (Bankr. E.D.N.Y. 1996) (quoting In re GHR Energy Corp., 33 B.R. 451, 453 (Bankr. D. Mass.

 1983). The standard for granting a Rule 2004 examination is whether the movant has established

 “good cause.” In re Hammond, 140 B.R. 197, 201 (S.D. Ohio 1992).

        6.      Rule 2004 examinations are an appropriate tool for investigating fraudulent transfer

 claims in particular. See Rhodes v. Litig. Trust of the Rhodes Cos., LLC (In re Rhodes Cos., LLC),

 475 B.R. 733 (D. Nev. 2012) (“the subpoenas were an appropriate method of investigating

 potential fraudulent transfer claims”); Kirschner v. Agoglia (In re Refco Inc.), 461 B.R. 181, 187

 (Bankr. S.D.N.Y. 2011) (listing rule 2004 as one of the “several sections of the Bankruptcy Code

 [that] govern the trustee or debtor in possession’s unique role in investigating … fraudulent

 transfer claims ….”).

                                             JOINDER

        7.      Howell Interests was provided with notice via the Court’s ECF of the Unsecured

 Creditors Committee’s Motion For 2004 Examination of Howard Sklar and its intent to compel

 production of certain documents and then to compel the examination of Howard Sklar. Howell

 Interests desires to participate in the Unsecured Creditors Committee’s 2004 examination of Mr.

 Sklar and to receive and review the documents sought by the Unsecured Creditors Committee. In

 order to ensure Howell Interests’ full participation in the examination and the receipt of the

 documents, Howell Interests files this Motion for 2004 Examination and agrees to conduct the

 examination on the date, place and time as that by the Unsecured Creditors Committee and to seek

 only those documents also sought by the Unsecured Creditors Committee in connection with its




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 Motion for 2004 Examination of Mr. Sklar.


                                               PRAYER

        8.      For the reasons set forth herein, Howell Interests respectfully requests that this Court

 enter an order authorizing the examination of Howard Sklar individually, on the issues raised

 herein and related to this case on no less than fourteen (14) days-notice, but that the examination

 occur simultaneously with the examination of Mr. Sklar by the Unsecured Creditors Committee

 pursuant to its Motion, and that Howell Interests be allowed to seek production of the same

 documents as sought by the Unsecured Creditors Committee and to be allowed to participate

 therein as appropriate.

 Dated: October 6, 2020.

                                               Respectfully submitted,

                                               BRADLEY MURCHISON KELLY & SHEA LLC


                                               By:    /s/ David R. Taggart
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                                          --   Attorneys for JF Howell Interests, LP




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                                CERTIFICATE OF CONFERENCE

          On October 5, 2020 undersigned counsel attempted to confer in good faith telephonically

  with Keri Riley, one of the counsel for Debtors, and left a message for her with her office and

  also sent her an email. Ms. Riley has not responded as of the date of the filing of this Motion.

  Additionally, on October 5, 2020, undersigned counsel in an attempt to confer in good faith

  telephonically with Christopher Johnson, one of the counsel for the Unsecured Creditors

  Committee, and both left a voice mail and sent an email. On October 6, 2020, Mr. Ross Parker,

  co-counsel with Mr. Johnson, returned the call and stated that the Unsecured Creditors

  Committee did not object to Howell Interests’ Motion.

                                                             /s/ David R. Taggart
                                                        OF COUNSEL


                                  CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that the foregoing was electronically filed on October 6, 2020.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.



                                                             /s/ David R. Taggart
                                                        OF COUNSEL




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